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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


 AMERICAN CHEMICAL SOCIETY ET AL.,

                               Plaintiffs,

        v.                                             Case No. 8:18-cv-03019-GJH

 RESEARCHGATE GMBH,

                               Defendant.



                        NOTICE OF PLAINTIFFS’ SUBMISSION
                       OF AMENDED EXHIBIT A TO COMPLAINT

       Plaintiffs American Chemical Society, Elsevier Inc., Elsevier Ltd., and Elsevier B.V.

(collectively, “Plaintiffs”), by and through their undersigned counsel, and with written consent of

Defendant ResearchGate GmbH, hereby submit an amended Exhibit A to their Complaint in

accordance with Federal Rule of Civil Procedure 15(a)(2). The amended Exhibit A to the

Complaint is attached hereto. This submission is without prejudice to Plaintiffs’ right to further

amend Exhibit A.


DATED: July 9, 2020                           /s/ Scott A. Zebrak
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